            Case 2:16-cv-00127-MRH Document 31 Filed 12/07/16 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                                        FOR THE
                            WESTERN DISTRICT OF PENNSYLVANIA


AMY BUMBARGER,,                             )
                                            )
                Plaintiff                   )
                                            ) Case No.: 2:16-cv-00127-MRH
       v.                                   )
                                            )
CAPITAL ONE BANK, N.A.,                     )
              Defendant                     )
                                            )
                                            )

                                 NOTICE OF SETTLEMENT


TO THE CLERK:

                NOTICE IS HEREBY GIVEN that the parties in the above-captioned case

have reached a settlement. The parties anticipate filing a stipulation of dismissal of this

action with prejudice pursuant to Fed. R. Civ. P. 41(a) within sixty (60) days .




Dated: December 7, 2016                   BY: /s/ Craig Thor Kimmel
                                          Craig Thor Kimmel, Esquire
                                          Kimmel & Silverman, P.C.
                                          30 E. Butler Avenue
                                          Ambler, PA 19002
                                          Phone: (215) 540-8888
                                          Facsimile: (877) 788-2864
                                          Email: kimmel@creditlaw.com
                                          Attorney for the Plaintiff
        Case 2:16-cv-00127-MRH Document 31 Filed 12/07/16 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of December, 2016, a true and correct copy of the

foregoing pleading was served via ECF to the below:


Laura A. Lange, Esq.
McGuireWoods LLP
625 Liberty Avenue
23rd Floor
Pittsburgh, PA 15222
Phone: 412-667-7941
412-667-7961 (fax)
Email: llange@mcguirewoods.com

Dated: December 7, 2016                      BY: /s/ Craig Thor Kimmel
                                             Craig Thor Kimmel, Esquire
                                             Kimmel & Silverman, P.C.
                                             30 E. Butler Avenue
                                             Ambler, PA 19002
                                             Phone: (215) 540-8888
                                             Facsimile: (877) 788-2864
                                             Email: kimmel@creditlaw.com
                                             Attorney for the Plaintiff
